Case o-2U0-06040-aSt DOC OU Filed OUs/Zo0/24 Entered Vofcoic4 csisoily

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: : Chapter 11
ORION HEALTHCORP, INC!. : Case No. 8-18-71748 (AST)
Debtors. : (Jointly Administered)

HOWARD M. EHRENBERG IN HIS CAPACITY:
AS LIQUIDATING TRUSTEE OF ORION : Adv. Pro. No. 8-20-8048 (AST)
HEALTHCORP, INC., ET AL., :

Plaintiff,

Vv.

ELIZABETH KELLY,
Defendant(s)

CASE MANAGEMENT AND DISCOVERY PLAN
In order to promote the efficient and expeditious disposition of the above-captioned
adversary proceeding (the “Adversary Proceeding”), the following case management schedule
(“Discovery Plan’’) shall apply to the Adversary Proceeding. This Discovery Plan is submitted in

accordance with Fed. R. Civ. P. 16(b) and 26(f).

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC

- (unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network
Management, LLC (7168). The corporate headquarters and the mailing address for the Debtors listed
above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.

LA:4876-6789-675 1.2 65004,003
Case o-2U0-06040-aSt DOC OU Filed OUs/Zo0/24 Entered Vofcoic4 csisoily

Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
seven (7) days from the date of this Order if not already accomplished.

1. Any motion to withdraw the reference must be filed on or before May 18,
2024, or it is waived.

2. All fact discovery shall be completed no later than July 18, 2024. The parties
are to conduct discovery in accordance with the Federal Rules of Civil Procedure ("Civil
Rules"), Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules") and the Local Rules of
the Bankruptcy Court for the Eastern District of New York ("Local Bankruptcy Rules").

3. Expert discovery

a. All expert discovery shall be completed no later than October 1, 2024.

b. No later than August 1, 2024: the party bearing the burden of proof on
any issue (including the issue of solvency, to the extent the Defendant intends to challenge the
statutory presumption of insolvency) shall make all disclosures required under Fed. R. Civ. P.
26 (a)(2); and (ii) all rebuttal or responsive expert reports and other disclosures required under
Fed. R. Civ. P. 26 (a)(2) shall be made no later than August 31, 2024 thereafter. Expert
discovery cut-off date is October 1, 2024.

4. Motions

a. All motions and applications shall be governed by the Civil Rules,
Bankruptcy Rules and Local Bankruptcy Rules, including pre-motion conference
requirements. Pursuant to the authority provided by Fed. R. Civ. P. 16(b)(2), a motion for
summary judgment will be deemed untimely unless a request for a pre-motion conference
relating thereto (see Local Bankruptcy Rule 7056-1) is made in writing within fourteen (14)

days after the close of fact discovery (see paragraph 3 hereof).

LA:4876-6789-675 1.2 65004.003
Case o-2U0-06040-aSt DOC OU Filed OUs/Zo0/24 Entered Vofcoic4 csisoily

5. Trial

a. Trial in this matter is scheduled for , 2024. The proposed
Joint Pretrial Order shall be prepared and submitted on or before , 2024.

Plaintiff's trial estimate is two-three day. Defendant’s trial estimate is three days.

6. This ORDER may not be modified or the dates herein extended, except by
further Order of this Court for good cause shown. Any application to modify or extend any
deadline established by this Order shall be made in a written application no less than five (5)
days prior to the expiration of the date sought to be extended.

Dated: 3] ae , 2024

PACHULSKI STANG ZIEHL & JONES LLP RIMON LAW

Attorneys for Plaintiff Howard M. Ehrenberg, Counsel to Elizabeth Kelly
in his capacity of Liquidating Trustee of Orion

Healthcorp, Inc., et al

By: === i
Ilan D. 8é 9
Jeffery P. Nolan, Esq., (Pro Hac Vice)
780 Third Avenue, 34 Floor By:
New York, NY 10017 Anthony Acampora, Esq.
Tel: (212) 561-7700 Brian Powers, Esq.

100 Jericho Quadrangle Suite 300
Jericho, New York 11753

Tel: (516)-479-6357
ay Email:
PS anthony.acampora@rimonlaw.com
: brian.powers@rimonlaw.com

Email: jnolan@pszjlaw.com
ischarf@pszjlaw.com

-

By:

Ben Fliegel, Esq.

Reed Smith, LLP

355 South Grand Avenue

Suite 2900

Los Angeles, CA 90071

Email: bfliegel@reedsmith.com

SO ORDERED:

LA:4876-6789-675 1.2 65004.003
